 Case 8:22-bk-12142-SC        Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25               Desc
                               Main Document    Page 1 of 18



 1   JOSHUA R. TEEPLE, CPA
     Grobstein Teeple LLP
 2   23832 Rockfield Boulevard, Suite 245
     Lake Forest, California 92630
 3   Telephone:    (949) 381-5655
 4   Facsimile:    (949) 381-5665
     Email: jteeple@gtllp.com; documents@gtllp.com
 5
     Financial Advisors to the Chapter 11 Debtor
 6   And Debtor-in-Possession
 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
                                         SANTA ANA DIVISION
10
      In re                                              Case No.: 8:22-bk-12142-SC
11
12    2nd CHANCE INVESTMENT                              Chapter 11
      GROUP, LLC,
13                                                    SECOND AND FINAL APPLICATION
                                                      FOR COMPENSATION AND
14
                                                      REIMBURSEMENT OF EXPENSES OF
15                                                    GROBSTEIN TEEPLE, LLP AS
                                                      FINANCIAL ADVISORS FOR THE
16                                                    DEBTOR AND DEBTOR-IN-POSSESSION
                     Debtor and Debtor-in-Possession. DURING THE PRE-CONFIRMATION
17
                                                      PERIOD; DECLARATIONS OF JOSHUA
18                                                    R. TEEPLE AND RAYSHON A. FOSTER
                                                      IN SUPPORT THEREOF
19
                                                         Date: May 21, 2024
20
                                                         Time: 10:00 a.m.
21                                                       Ctrm: 5C – Via ZoomGov
                                                               U.S. Bankruptcy Court
22                                                             411 West Fourth Street
23                                                             Santa Ana, California 92701

24
25   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE:
26            GROBSTEIN TEEPLE LLP (“Applicant” or “GT” or the “Firm”), financial advisors for the
27   Debtor and Debtor-in-Possession, 2nd Chance Investment Group, LLC (the “Debtor”) in the above-
28   referenced case, represents the following in support of this Second and Final Application for




     In re: 2nd Chance Investment Group, LLC         1                     Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                                Main Document    Page 2 of 18



1    Compensation and Reimbursement of Expenses of Grobstein Teeple, LLP as Financial Advisors for
2    the Debtor and Debtor-in-Possession During the Pre-Confirmation Period (“Application”). The
3    Application requests a total of $7,240.00 for fees and $10.02 for expenses incurred during the period
4    of November 1, 2023, through and including February 29, 2024 (the “Final Application Period”).
5                                                       I.
6                      PRELIMINARY SUMMARY OF COMPENSATION DATA
7    1.     Applicant: GROBSTEIN TEEPLE LLP
8    2.     Final Application Period: November 1, 2023 through February 29, 2024
9    3.     Date of Entry of Order Authorizing Employment: May 9, 2023 [effective March 14, 2023]
10   4.     Date Services Commenced: March 14, 2023
11   5.     Dates of Prior Fee Hearings: December 6, 2023
12   6.     Advance Fee Payment Received: $0.00
13   7.     Advance Fee Payment Remaining: $0.00
14   8.     Fees Paid Pursuant to Prior Fee Applications: $10,074.97
15   9.     Expenses Paid Pursuant to Prior Fee Applications: $129.32
16   10.    Amount Remaining to be Paid to Pursuant to Prior Applications: $4,874.53
17   11.    Amount Reserved Pending Final Fee Application: $0.00
18   12.    Total Amount of Fees Requested for this Application Period: $7,240.00
19   13.    Total Amount of Expenses Requested for this Application Period: $10.02
20   14.    Cash on hand: $43,239.00 (per Debtor’s monthly operating report for the period ending
21   February 29, 2024).
22                                                     II.
23                                            INTRODUCTION

24          1.      On December 21, 2022 (the “Petition Date”), the Debtor filed a voluntary petition under

25   Chapter 11 of Title 11 of the United States Code. Since the Petition Date, the Debtor has been

26   operating its business and managing its financial affairs as a debtor-in-possession pursuant to Sections

27   1107 and 1108 of the Bankruptcy Code.

28   ///




     In re: 2nd Chance Investment Group, LLC            2                    Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                                Main Document    Page 3 of 18



1           2.      Pursuant to the order entered authorizing the employment of GT as financial advisors,
2    Applicant began work on March 14, 2023.
3           3.      Applicant was employed to provide accounting related assistance including: obtain and
4    evaluate financial records; assist in the preparation of monthly operating reports; prepare and update
5    budgets and cash collateral motions as needed; support and assist the Chief Restructuring Officer
6    (“CRO”) in operating the Debtor; evaluate assets and liabilities of the Debtor; evaluate tax issues
7    related to the Debtor, including but not limited to preparing capital gains analyses and resolving tax
8    matters; prepare tax returns; provide litigation consulting if required; and provide accounting and
9    consulting services requested by the Applicant, its counsel, and/or the CRO.
10          4.      Applicant’s first interim application in connection with this case sought approval of
11   compensation for fees totaling $14,949.50, and reimbursement of expenses in the amount of $129.32
12   from the period of March 14, 2023 through October 31, 2023 (“First Application Period”). Pursuant
13   to Court order entered December 12, 2023, fees and expenses were allowed in the amounts of
14   $14,949.50 and $129.32, respectively. Applicant received payment for the allowed fees in the amount
15   of $10,074.97, leaving a balance due of $4,874.53. Applicant received reimbursement of expenses in
16   the full amount requested and allowed.
17          5.      This is Applicant’s second and final application in connection with the pre-
18   conformation period of this case. Applicant seeks approval of compensation for the Final Application
19   Period. The requested amount of compensation is based upon a total of 22.5 hours of accounting
20   services, resulting in fees totaling $7,240.00. In addition, Applicant incurred expenses in the amount
21   of $10.02. The Applicant is informed and believes that the Debtor is currently holding $43,239.00.
22          6.      The professional services which are the subject of this Application were rendered by
23   the Applicant in connection with providing services for the benefit of the estate and not for any other
24   entity. All the expenses which are the subject of this Application were incurred by Applicant in
25   connection with providing services for the benefit of the estate.
26          7.      Applicant maintains time records of professionals and support personnel on a
27   contemporaneous basis. Such time records are prepared by the professionals who have rendered the
28   services. The time records and this Application were reviewed by the project manager assigned to the




     In re: 2nd Chance Investment Group, LLC            3                    Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                 Desc
                                Main Document    Page 4 of 18



1    case.
2            8.     Exhibit “A” attached to the declaration in support of the Application provides a grand
3    total of fees by subject area, as well as expenses, incurred during the Final Application Period.
4            9.     A summary of the hours of professional time expended by each professional for the
5    Applicant is attached as Exhibit “B” to the declaration in support of the Application. The hourly
6    rates in Exhibit “B”, as well as those reported in Exhibit “C”, reflect the rates in effect on the dates
7    those services were performed. Therefore, certain professionals may reflect multiple rates if there
8    were rate adjustments during the Final Application Period.
9            10.    Attached as Exhibit “C” to the declaration in support of this Application and
10   incorporated herein by this reference is a report detailing the services and expenses rendered by the
11   Applicant for the Final Application Period, with a description of the service(s) performed, time spent,
12   timekeeper identity, and applicable rate. Exhibit “C” categorizes the professional fees by subject
13   work areas.
14           11.    Applicant has no agreement or understanding for a division of fees between Applicant
15   and any other party or parties involved in this matter. No retainer or advance fee payment has been
16   received by Applicant and Applicant has not received, nor intends to receive, a lien or any other
17   interest in the property of the Debtor or any other third party to secure payments of Applicant’s fees.
18   Applicant is aware of the risk that there may be insufficient assets from which it may be compensated.
19           12.    Attached as Exhibit “D” to the declaration in support of this Application is
20   biographical information of the professionals providing services during the Final Application Period.
21                                                          III.
22           SUMMARY OF PROFESSIONAL SERVICES PERFORMED BY APPLICANT
23                                DURING THE FIRST APPLICATION PERIOD
24   Accounting Services
25           13.    Working closely with David M. Goodrich, the Debtor’s CRO (“CRO”), Applicant
26   assisted with preparation of the Debtor’s required Month Operating Reports (MORs) for the months
27   of February through June 2023.
28   ///




     In re: 2nd Chance Investment Group, LLC            4                     Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                                Main Document    Page 5 of 18



1           14.     Working from information prepared by the CRO, Applicant completed a liquidation
2    analysis for the Debtor. As part of this process, Applicant reviewed and provided input on the Debtor’s
3    plan of reorganization. Applicant communicated regularly with CRO on status and areas where
4    Applicant was of assistance.
5    Fee/Employment Application
6           15.     During the First Application Period, Applicant prepared its employment application for
7    services rendered in this case.
8    Tax Issues
9           16.     The CRO asked Applicant to assist with various tax matters that arose during the First
10   Application Period. One area of particular contribution surrounded Applicant’s efforts to prepare
11   gains analyses on various real estate transactions. To that end, Applicant prepared gains analyses on
12   five properties.
13          17.     Through the Firm’s efforts, including assistance with a liquidation analysis related to
14   property sales, a property gain and tax analysis, as well as a cash flow analysis, the Firm was able to
15   assist the CRO in his efforts to market and obtain a buyer for the Real Property. The Firm’s property
16   gain and tax analysis was included in the Debtor’s Sale Motion.
17          18.     Applicant also assisted the CRO with completion of required tax reporting forms.
18                                                         IV.
19          SUMMARY OF PROFESSIONAL SERVICES PERFORMED BY APPLICANT
20                               DURING THIS FINAL APPLICATION PERIOD
21   Accounting Services
22          19.     During this Final Application Period, the CRO prepared the MORs for several months.
23   In December 2023, GT was asked to assist with the preparation of the MORs starting in November
24   due to the complexity of reporting on the sale within the MORs. In order to utilize the Office of the
25   United States Trustee’s (“OUST”) required MOR forms, Applicant had to create workpapers from the
26   previously preparing MORs. Those workpapers were necessary for reporting on cumulative fields
27   within the MOR forms.          Applicant also prepared exhibits on the cumulative receipts and
28   disbursements, and statement of cash receipts and disbursements as required by the OUST. When




     In re: 2nd Chance Investment Group, LLC           5                     Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC          Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                                 Main Document    Page 6 of 18



1    necessary, Applicant prepared an exhibit to provide more detail as to the gross sale activity and net
2    sale activity. There were 7 (seven) bank statements to review and report on for each MOR. During
3    the Final Application Period, applicant prepared 3 (three) MORs, all of which included sale proceeds
4    and needed to be reconciled against sale documents.
5               20.   Applicant also reviewed documents related to the sale of real property to assist the
6    CRO in the completion of the sale.
7               21.   During the Final Application Period, Applicant incurred 19.2 hours under the category
8    of Accounting Services, resulting in fees totaling $6,371.50. This results in a blended hourly rate of
9    $331.85.
10   Fee/Employment Application
11              22.   During the Final Application Period, Applicant incurred 1.8 hours to prepare its first
12   interim application for compensation in this case, resulting in fees totaling $386.00. This results in a
13   blended hourly rate of $214.44.
14   Tax Issues
15              23.   Applicant reviewed the status of outstanding tax issues, reviewed settlement
16   documentation, and assisted the CRO with the completion of the 2022 tax return.
17              24.   During the Final Application Period, Applicant incurred 1.5 hours under the category
18   of Tax Issues, resulting in fees totaling $482.50. This results in a blended hourly rate of $321.67.
19   Expenses
20              25.   During the Final Application Period, Applicant incurred expenses in the total amount
21   of $10.02 for costs related to the service of the first application for compensation upon the appropriate
22   parties.
23                                                       V.
24                                REQUEST FOR FINAL COMPENSATION
25              26.   During the Final Application Period, Applicant incurred a total of 22.5 hours as
26   financial advisors for the Debtor. Applicant submits that all its time was reasonable and necessary.
27   Applicant has attempted, as best possible, to avoid utilizing professionals at a higher rate than needed
28   for any particular task. The blended hourly rate for the Application Period is $321.78.




     In re: 2nd Chance Investment Group, LLC             6                     Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC        Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                               Main Document    Page 7 of 18



1           22.     Applicant is requesting compensation in the amount of $7,240.00 for services rendered.
2    This amount is based upon the normal hourly rates charged by its professionals at the time the work
3    was performed. This amount does not include any enhancements or bonuses. It is also requesting
4    reimbursement of costs in the amount of $10.02.
5           WHEREFORE, GROBSTEIN TEEPLE LLP requests that this Court, after proper notice
6    and hearing, allow on a final basis, previously allowed fees and expenses in the amounts of $14,949.50
7    and $129.32, respectively; and fees and expenses as requested herein in the amounts of $7,240.00, and
8    $10.02, respectively. Taking into consideration the outstanding balance owed for the first interim
9    application in the amount of $4,874.53, this would result in a total payment of $12,124.55 to
10   GROBSTEIN TEEPLE LLP.
11                                                         Grobstein Teeple LLP
12
13   Dated: April 26
                  ___, 2024                                By
14                                                              Joshua R. Teeple

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     In re: 2nd Chance Investment Group, LLC           7                    Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                 Desc
                                Main Document    Page 8 of 18



1                                DECLARATION OF JOSHUA R. TEEPLE

2           I, Joshua R. Teeple, declare and state as follows:

3           1.      I am a certified public accountant, duly licensed and authorized to practice accounting

4    in the State of California. I am a member in good standing of the American Institute of Certified

5    Public Accountants (AICPA). I am a partner of GROBSTEIN TEEPLE LLP (“GT”), financial

6    advisors for the Debtor, and am duly authorized to make this declaration on behalf of GT.

7           2.      I am the accountant principally responsible for the services performed in this matter on

8    behalf of the Debtor. The facts stated herein are within my personal knowledge or I have gained

9    knowledge of them from other GT staff members or the regular business records as maintained by my

10   office. The time records and this Application were reviewed by the project manager assigned to the

11   case. If called as a witness, I could and would testify competently thereto.

12          3.      I have reviewed the foregoing Second and Final Application for Compensation and

13   Reimbursement of Expenses of Grobstein Teeple, LLP as financial advisors for the Debtor for the Pre-

14   Confirmation period (the “Application”). I have reviewed the requirements of Local Bankruptcy Rule

15   2016, and to the best of my knowledge, information, and belief, the Application is true and correct,

16   and the Application complies with that rule.

17          4.      I am familiar with GT’s billing practices and procedures. In the ordinary course of its

18   business, GT keeps a record of all time expended by its professionals and employees in the rendering

19   of professional services, as well as all reimbursable expenses, on a computerized billing system. The

20   amounts requested by GT in the Application are based upon GT’s business records.

21          5.      Attached to this declaration as Exhibit “A” is a true and correct copy of a report

22   generated by GT’s computerized billing system, which provides a grand total of fees by subject area

23   incurred by GT in this matter on behalf of the estate and expenses incurred by GT.

24          6.      Attached to this declaration as Exhibit “B” is a true and correct copy of a report

25   generated by GT’s computerized billing system, which provides a summary of the hours of

26   professional time expended by each professional at GT in providing services to the estate in this matter.

27          7.      Attached to this declaration as Exhibit “C” is a true and correct copy of a report

28   generated by GT’s computerized billing system providing a detail of fees and expenses incurred by




     In re: 2nd Chance Investment Group, LLC            8                     Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25               Desc
                                Main Document    Page 9 of 18



1    GT in connection with providing services to the estate in this matter. The time records include a
2    description of the nature of the services performed, the GT professional providing that service, the
3    applicable rate of the professional, and the duration of time expended.
4           8.      GT's request for reimbursement of costs and the computation of the costs reflect
5    photocopying at $0.20 per page, outgoing facsimiles at $1.00 per page and incoming facsimiles at
6    $0.20 per page. All costs from outside parties such as messengers, Federal Express, mail and long
7    distance telephone charges are charged at Applicant's cost.
8           9.      Attached to this declaration as Exhibit “D” is biographical information of the
9    professionals who provided services to the estate in this matter.
10
11          I declare under penalty of perjury that the foregoing is true and correct.
12                         26
            Executed April _____,         Lake Forest
                                  2024 at ____________________, California.
13
14                                                          _____________________________
                                                                  JOSHUA R. TEEPLE
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     In re: 2nd Chance Investment Group, LLC            9                      Case No.: 8:22-BK-12142-SC
Case 8:22-bk-12142-SC   Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25   Desc
                        Main Document     Page 10 of 18
 Case 8:22-bk-12142-SC                Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                                         Desc
                                      Main Document     Page 11 of 18



 1
 2                                              PROOF OF SERVICE OF DOCUMENT

 3   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

 4                                                  P.O. Box 253, Woonsocket, RI 02895

 5   A true and correct copy of the foregoing document entitled (specify): SECOND AND FINAL APPLICATION FOR
     COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GROBSTEIN TEEPLE, LLP AS FINANCIAL
 6   ADVISORS FOR THE DEBTOR AND DEBTOR-IN-POSSESSION DURING THE PRE-CONFIRMATION PERIOD;
     DECLARATIONS OF JOSHUA R. TEEPLE AND RAYSHON A. FOSTER IN SUPPORT THEREOF WITH PROOF OF
     SERVICE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
 7
     and (b) in the manner stated below:
 8
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 9   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
      April 30, 2024
     _________________________,     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
10   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
     addresses stated below:
11
            Amanda G. Billyard on behalf of Debtor 2nd Chance Investment Group LLC abillyard@bwlawcenter.com
            Andy C Warshaw on behalf of Debtor 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
12           warshaw.andyb110606@notify.bestcase.com
            Andy C Warshaw on behalf of Defendant 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
13           warshaw.andyb110606@notify.bestcase.com
            Arvind Nath Rawal on behalf of Creditor Ally Bank c/o AIS Portfolio Services, LLC arawal@aisinfo.com
            Brandon J Iskander on behalf of Interested Party Goe Forsythe & Hodges LLP biskander@goeforlaw.com kmurphy@goeforlaw.com
14          Charity J Manee on behalf of Plaintiff Official Committee Of Unsecured Creditors cmanee@goeforlaw.com kmurphy@goeforlaw.com
            Charity J Manee on behalf of Interested Party Goe Forsythe & Hodges LLP cmanee@goeforlaw.com kmurphy@goeforlaw.com
15          Charity J Manee on behalf of Plaintiff Official Committee of Unsecured Creditors cmanee@goeforlaw.com kmurphy@goeforlaw.com
            Cheryl A Skigin on behalf of Creditor Ally Bank caskigin@earthlink.net caskigin@earthlink.net
16          Christopher P. Walker on behalf of Interested Party Salvador Jimenez cwalker@cpwalkerlaw.com
             lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
            Christopher P. Walker on behalf of Creditor Salvador Jimenez cwalker@cpwalkerlaw.com
17           lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
            Dane W Exnowski on behalf of Interested Party Courtesy NEF dane.exnowski@mccalla.com
18           bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
            Dane W Exnowski on behalf of Creditor Forethought Life Insurance Company dane.exnowski@mccalla.com
19           bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
            Daniel J Griffin on behalf of Plaintiff Maher Abou Khzam daniel@thebklawoffice.com
             tclayton@thebklawoffice.com;daniel@thebklawoffice.com
20          David M Goodrich on behalf of Debtor 2nd Chance Investment Group LLC dgoodrich@go2.law,
             kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
21          David M Goodrich on behalf of Interested Party Interested Party dgoodrich@go2.law
             kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
            Douglas A Plazak on behalf of Creditor Ram Bhakta dplazak@rhlaw.com
22          Douglas A Plazak on behalf of Attorney Douglas A. Plazak dplazak@rhlaw.com
            Douglas A Plazak on behalf of Creditor Sajan Bhakta dplazak@rhlaw.com
23          Fanny Zhang Wan on behalf of Creditor U.S. BANK TRUST NATIONAL ASSOCIATION NOT IN ITS INDIVIDUAL CAPACITY BUT
             SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST fwan@raslg.com
24          Fanny Zhang Wan on behalf of Interested Party U.S. Bank Trust National Association not in its individual capacity but solely as owner
             trustee for VRMTG Asset Trust fwan@raslg.com
            Gary B Rudolph on behalf of Creditor Lantzman Investments Inc. rudolph@sullivanhill.com,
25           bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
            Gary B Rudolph on behalf of Creditor LMF2 LP rudolph@sullivanhill.com, bkstaff@sullivanhill.com;
26           vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
            Jennifer C Wong on behalf of Interested Party Courtesy NEF bknotice@mccarthyholthus.com jwong@ecf.courtdrive.com
27          Jennifer C Wong on behalf of Creditor Wells Fargo Bank N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
            Kathleen A Cashman-Kramer on behalf of Creditor LMF2 LP cashman-kramer@sullivanhill.com, theresam@psdslaw.com
            Kathleen A Cashman-Kramer on behalf of Creditor Lantzman Investments Inc. cashman-kramer@sullivanhill.com, theresam@psdslaw.com
28          Lazaro E Fernandez on behalf of Interested Party Courtesy NEF lef17@pacbell.net lef-sam@pacbell.net;lef-
             mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com




     In re: 2nd Chance Investment Group, LLC                            11                             Case No.: 8:22-BK-12142-SC
 Case 8:22-bk-12142-SC                Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                                       Desc
                                      Main Document     Page 12 of 18


         •    Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov
1        •    Randall P Mroczynski on behalf of Creditor Mercedes-Benz Financial Services USA LLC randym@cookseylaw.com
         •    Richard L. Sturdevant on behalf of Defendant 2nd Chance Investment Group LLC rich@bwlawcenter.com
2        •    Richard L. Sturdevant on behalf of Debtor 2nd Chance Investment Group LLC rich@bwlawcenter.com
         •    Robert P Goe on behalf of Plaintiff Official Committee Of Unsecured Creditors kmurphy@goeforlaw.com
              rgoe@goeforlaw.com;goeforecf@gmail.com
3        •    Robert P Goe on behalf of Interested Party Goe Forsythe & Hodges LLP kmurphy@goeforlaw.com
              rgoe@goeforlaw.com;goeforecf@gmail.com
4        •    Robert P Goe on behalf of Creditor Committee Official Committee of Unsecured Creditors kmurphy@goeforlaw.com
              rgoe@goeforlaw.com;goeforecf@gmail.com
5        •    Robert P Goe on behalf of Plaintiff Official Committee of Unsecured Creditors kmurphy@goeforlaw.com
              rgoe@goeforlaw.com;goeforecf@gmail.com
         •    Stephan M Brown on behalf of Interested Party Courtesy NEF ECF@thebklawoffice.com
6             stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
         •    Stephan M Brown on behalf of Interested Party Maher Abou Khzam ECF@thebklawoffice.com
7             stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
         •    Stephan M Brown on behalf of Plaintiff Maher Abou Khzam ECF@thebklawoffice.com
              stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
8        •    United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

9    2. SERVED BY UNITED STATES MAIL:
     On April 30, 2024            , I served the following persons and/or entities at the last known addresses in this bankruptcy
10   case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
     first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
11   judge will be completed no later than 24 hours after the document is filed.
12    Debtor                                                      Honorable Scott C. Clarkson
      2nd Chance Investment Group, LLC                            U.S. Bankruptcy Court
13    Service c/o Counsel via NEF                                 411 West 4th Street, Suite 5130
                                                                  Santa Ana, CA 93101
14
15
16   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
17   _______________, I served the following persons and/or entities by personal delivery, overnight mail service, or (for
     those who consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
18   judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
     than 24 hours after the document is filed.
19
20   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

21
     April 30, 2024                                    Denise Weiss
22             Date                                    Typed Name                                              Signature

23
24
25
26
27
28




     In re: 2nd Chance Investment Group, LLC                           12                            Case No.: 8:22-BK-12142-SC
       Case 8:22-bk-12142-SC            Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                Desc
                                        Main Document     Page 13 of 18
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949-298-6620




                                              2nd Chance Investment Group, LLC
                                       Summary of Professional Fees and Expenses
                          Fee Application Period: November 1, 2023 through February 29, 2024


       Category of Work
                  001 - Accounting Services                                             19.20         $6,371.50
                  009 - Fee/Employment Application                                       1.80          $386.00
                  014 - Tax Issues                                                       1.50          $482.50
                                                   Total Professional Fees              22.50         $7,240.00


       Expenses
                  405 - Client Postage/Delivery                                                          $3.42
                  406 - Client Photocopies/Printing                                                      $6.60
                                                           Total Expenses                               $10.02


                                                         Total Professional Fees and Expenses         $7,250.02




                                                   Please mail payments to:
                                                     Grobstein Teeple, LLP
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                                                 Lake Forest, California 92630


                                                                                           Exhibit A, Page 13
          Case 8:22-bk-12142-SC       Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25               Desc
                                      Main Document     Page 14 of 18
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949-298-6620




 David Goodrich
 3070 Bristol St., Ste. 640                                                     Invoice
 Costa Mesa, California 92626                                                   Invoice Date:    04/23/2024
                                                                                Invoice Number: 104512
                                                                                Billing Through: 04/23/2024



IN RE: 2nd Chance Investment Group, LLC




 Professional Fees by Employee

 Fee Application Period: November 1, 2023 - February 29, 2024


 Employee                                                          Rate              Hours                Amount

 Denise Weiss                                                    $95.00               1.30                $123.50
 Joshua R Teeple                                                $525.00               1.30                $682.50
 Joshua R Teeple                                                $600.00               1.10                $660.00
 Kenneth C Solares                                              $285.00               0.20                    $57.00
 Kenneth C Solares                                              $385.00               0.70                $269.50
 Kevin R Meacham                                                $265.00               5.00              $1,325.00
 Kevin R Meacham                                                $325.00              12.10              $3,932.50
 Lin Pei-Wen                                                    $225.00               0.70                $157.50
 Lin Pei-Wen                                                    $325.00               0.10                    $32.50
 Totals                                                                              22.50              $7,240.00




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                                                                                     Exhibit B, Page 14
        Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                  Desc
                                      Main Document     Page 15 of 18
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 David Goodrich
 3070 Bristol St., Ste. 640                                                        Invoice
 Costa Mesa, California 92626                                                      Invoice Date:    04/23/2024
                                                                                   Invoice Number: 104512
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IN RE: 2nd Chance Investment Group, LLC




Professional Services:


 Date         Employee                 Description                                   Rate      Hours         Amount

 001 - Accounting Services
 12/20/2023   Joshua R Teeple          Work with staff on MOR prep issues         $525.00       0.60         $315.00
                                       Review of prior MORs.
 12/20/2023   Kevin R Meacham                                                     $265.00       0.80         $212.00
                                       Review of documents related to sale of
 12/20/2023   Kevin R Meacham          properties.                                $265.00       0.60         $159.00
                                       Work on updating MOR worksheet with
 12/20/2023   Kevin R Meacham          historical data.                           $265.00       0.90         $238.50
                                       Review of November MOR and discuss
 12/20/2023   Kevin R Meacham          issues with counsel.                       $265.00       0.90         $238.50
                                       Prepare November MOR.
 12/20/2023   Kevin R Meacham                                                     $265.00       0.60         $159.00
                                       Review of seller's agreement for
 12/21/2023   Kevin R Meacham          property sale and update MOR with          $265.00       1.20         $318.00
                                       sales data.
                                       Review November MOR
 12/22/2023   Joshua R Teeple          Assist with MOR and sale of real estate.   $525.00       0.20         $105.00
 01/18/2024   Kenneth C Solares                                                   $385.00       0.40         $154.00
                                       Prepare MOR supporting documents.
 01/18/2024   Kevin R Meacham                                                     $325.00       1.60         $520.00
                                       Review of property sale agreements
 01/18/2024   Kevin R Meacham          for MOR reporting.                         $325.00       1.30         $422.50
                                       Prepare December MOR and
 01/19/2024   Kevin R Meacham          supporting documents.                      $325.00       3.20       $1,040.00
                                       Work with Meacham on MOR
 01/23/2024   Joshua R Teeple                                                     $600.00       0.60         $360.00
                                       Prepare December MOR and
 01/23/2024   Kevin R Meacham          supporting documents.                      $325.00       3.60       $1,170.00
                                       Request January bank statements and
 02/07/2024   Kevin R Meacham          updated Form 2.                            $325.00       0.10             $32.50
                                       Prepare January MOR.
 02/12/2024   Kevin R Meacham                                                     $325.00       2.30         $747.50
                                       Review January MOR
 02/19/2024   Joshua R Teeple                                                     $600.00       0.30         $180.00



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                                                                                        Exhibit C, Page 15
        Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                      Desc
                                      Main Document     Page 16 of 18
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 David Goodrich
 3070 Bristol St., Ste. 640                                                          Invoice
 Costa Mesa, California 92626                                                         Invoice Date:    04/23/2024
                                                                                      Invoice Number: 104512
                                                                                      Billing Through: 04/23/2024



IN RE: 2nd Chance Investment Group, LLC




 Date         Employee                 Description                                      Rate        Hours       Amount

                                                          001 - Accounting Services Total:          19.20      $6,371.50

 009 - Fee/Employment Application
 11/06/2023   Denise Weiss             Commence preparation of interim fee           $95.00          1.00           $95.00
                                       application.
 11/07/2023   Joshua R Teeple          Prepare fee application narrative            $525.00          0.50       $262.50
 12/11/2023   Denise Weiss             Draft and upload order.                       $95.00          0.30           $28.50
                                                009 - Fee/Employment Application Total:              1.80       $386.00

 014 - Tax Issues
 11/20/2023   Kenneth C Solares        Review status of tax return open items.      $285.00          0.20           $57.00
 11/27/2023   Lin Pei-Wen              Initial review of settlement documents       $225.00          0.70       $157.50
 02/12/2024   Joshua R Teeple          Assist with issues related to preparing      $600.00          0.20       $120.00
                                       2022 income tax return
 02/12/2024   Kenneth C Solares        Review ﬁle for client documents              $385.00          0.30       $115.50
                                       available for 2022 tax returns.
 02/22/2024   Lin Pei-Wen              Continue to review settlement                $325.00          0.10           $32.50
                                       documents
                                                                     014 - Tax Issues Total:         1.50       $482.50

                                                                   Total Professional Fees:         22.50      $7,240.00



Expenses:


 Date         Employee                 Description                                  Quantity         Rate       Amount

 405 - Client Postage/Delivery
 11/10/2023   Denise Weiss             Service of First Interim Fee Application            1        $2.55            $2.55
                                       upon Judge.



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                                                                                               Exhibit C, Page 16
        Case 8:22-bk-12142-SC         Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                       Desc
                                      Main Document     Page 17 of 18
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 David Goodrich
 3070 Bristol St., Ste. 640                                                            Invoice
 Costa Mesa, California 92626                                                           Invoice Date:    04/23/2024
                                                                                        Invoice Number: 104512
                                                                                        Billing Through: 04/23/2024



IN RE: 2nd Chance Investment Group, LLC




 Date         Employee                 Description                                    Quantity        Rate        Amount

 11/10/2023   Denise Weiss             Service of First Interim Fee Application              1       $0.87             $0.87
                                       upon Debtor.
                                                                    405 - Client Postage/Delivery Total:               $3.42

 406 - Client Photocopies/Printing
 11/10/2023   Denise Weiss             Service of First Interim Fee Application            10        $0.20             $2.00
                                       upon Debtor.
 11/10/2023   Denise Weiss             Service of First Interim Fee Application            23        $0.20             $4.60
                                       upon Judge.
                                                               406 - Client Photocopies/Printing Total:                $6.60

                                                                                          Total Expenses:             $10.02




                                                                                  Total Professional Fees:      $7,240.00

                                                                                          Total Expenses:             $10.02

                                                                        Total Amount Due This Invoice:          $7,250.02




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                                                                                              Exhibit C, Page 17
Case 8:22-bk-12142-SC              Doc 415 Filed 04/30/24 Entered 04/30/24 15:39:25                              Desc
                                   Main Document     Page 18 of 18




                                        PROFESSIONAL BIOGRAPHIES

          JOSHUA TEEPLE, CPA/CFF, CFE, CITP, University of Colorado, Boulder (B.S. - Business Administration) is a
Partner in the firm. Mr. Teeple specializes in providing forensic accounting and restructuring services and testifies as
an expert witness in such matters. Mr. Teeple has conducted multiple fraud investigations and regularly provides
litigation consulting services.
          KENNETH SOLARES, CPA, California State University, Northridge (B.S. - Finance) is a Manager in the firm.
Mr. Solares has experience in accounting, bookkeeping, financial statement analysis and office management.
          KEVIN MEACHAM, California State University, Northridge (B.S. - Information Systems with an Option in
Business) is a Consultant in the firm. Mr. Meacham is knowledgeable in network technologies, database
management, application development, business intelligence, IT audit, enterprise resource planning, project
management, and IT security. He has experience in bank record reconstructions for numerous accounts related to
fraudulent transactions.
          LIN (LYNN) PEI-WEN, Fairleigh Dickinson University (MS – Accounting) is a Senior Tax Accountant with the
firm. Ms. Lin has experience in corporate tax for small business, individual tax for the small business owners, and
financial accounting function including bookkeeping, cash reconciliation and reporting.
          DENISE WEISS is an Executive Assistant with the firm.




Los Angeles Headquarters                                    Los Angeles County, CA                 Boston, MA
6300 Canoga Avenue Ste 1500W                                Orange County, CA                      Las Vegas, NV
Woodland Hills, California 91367                            Riverside County, CA                   Washington D.C. Metro
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                                                                                              Exhibit D, Page 18
                                                                                                   Metro Washington D.C
